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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


                                           Case: 2:21−cr−20452
UNITED STATES OF AMERICA,                  Assigned To : Friedman, Bernard A.
                                           Referral Judge: Patti, Anthony P.
                                           Assign. Date : 7/13/2021
                   Plaintiff,
                                           Description: INFO USA v. LYNCH (SO)
-vs-
                                             VIO: 18 U.S.C. § 1343
D-1    JOHN R. LYNCH,

               Defendant.
________________________________/

                                 INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

                                GENERAL ALLEGATIONS

                          The Holy Cross Organization

       1. At all times relevant to this Information, the Holy Cross organization was

a section 501(c)(3) charitable organization. It had over 350 employees and was

made up of several nonprofit corporations, including but not limited to Boysville of

Michigan, Incorporated (dba “Holy Cross Children’s Services”); Holy Cross Youth

and Family Services, Inc. (dba “Kairos” and “Kairos Healthcare”); HCYFS

Outpatient Centers Inc. (dba “Woodward Counseling” and “Holy Cross

Counseling”); Samaritan Center, Inc.; and Holy Cross Properties, Inc. The main
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offices of the Holy Cross organization were located in Clinton, Michigan, in the

Eastern District of Michigan. Most of the activities of the Holy Cross organization

(referred to hereinafter as Holy Cross) took place in Southeast Michigan and Mid-

Michigan.

      2. Holy Cross provided financial support and services to children, families,

and adults, including but not limited to medical, mental, and behavioral healthcare

services; residential assistance for the homeless; independent living assistance;

foster care; job training and placement services; educational programs; meals;

spiritual ministries; transportation services, and other social services.

      3. In March 2012, defendant JOHN R. LYNCH, who had been a licensed CPA,

became the CFO of Holy Cross. In January 2015 he became the CEO of Holy

Cross. As the CFO of Holy Cross and then its CEO, LYNCH had overall

responsibility for the activities of Holy Cross as well as complete control over its

day-to-day finances and the day-to-day operations of its accounting department.

LYNCH’s annual salary as the CEO of Holy Cross was approximately $200,000.

      4. The principal checking accounts of Holy Cross were maintained at First

Federal Bank of the Midwest in the names of Holy Cross Children’s Services and

Kairos Healthcare. These checking accounts were under the immediate control of

the accounting department of Holy Cross and used in accordance with established

Holy Cross accounting procedures and practices.

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      5. In September 2012, a few months after he joined Holy Cross, JOHN

LYNCH opened a checking account at Ann Arbor State Bank in the name of Holy

Cross Properties. LYNCH caused funds from other Holy Cross bank accounts to be

transferred into the Holy Cross Properties checking account.

      6. Holy Cross maintained a corporate credit card account with American

Express. About 10 Holy Cross employees, including JOHN LYNCH, were given

American Express corporate credit cards that were to be used only for the business

of Holy Cross. Charges on all of the corporate American Express credit cards were

paid by Holy Cross.

      7. The activities of Holy Cross were funded in large part with public funds.

Holy Cross received federal funds directly or indirectly through the federal

National School Lunch Program; through the federal School Breakfast Program;

through Part E of Title IV of the Social Security Act, which provided grants to

states to fund, among other things, services to needy families with children,

programs designed to protect children and promote their welfare, and programs

facilitating foster care and adoption when appropriate; and through the Enhanced

Mobility of Seniors and Individuals with Disabilities Program administered by the

U.S. Department of Transportation, which provided funds to assist private

nonprofit groups in meeting the transportation needs of older adults and people

with disabilities.

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                      JKL Consulting LLC / JKL Products

      8. JKL Consulting LLC was organized in the State of Michigan in August

2011 by JOHN LYNCH and his wife. It also used the assumed name of JKL

Products, and it listed its registered office as 1352 Balfour, Grosse Pointe Park,

Michigan, the personal residence of JOHN LYNCH and his wife.

                            First Nation Security, LLC

      9. First Nation Security, LLC was organized in the State of Michigan in

January 2013 by a brother-in-law of JOHN LYNCH (a brother of Lynch’s wife), and

the address of its registered office was initially the residence of LYNCH’s brother-

in-law, in Grosse Pointe Woods, Michigan. Later, the address of the registered

office was the residence of LYNCH and his wife, in Grosse Pointe Park. The

resident agent of First Nation Security was initially LYNCH’s brother-in-law, and

then it was one of LYNCH’s sisters, a resident of Florida. LYNCH’s brother-in-law

ran the day-to-day operations of First Nation Security, and LYNCH handled the

finances of First Nation Security. First Nation Security was under contract with

Samaritan Center, Inc. to provide security services. Samaritan Center, Inc. was a

large community resource center on Detroit’s east side that was a part of the Holy

Cross organization. Social services and other forms of assistance were provided to

low-income residents at the Samaritan Center.




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                              SCHEME TO DEFRAUD

      10. From no later than November 2014 through March 2017, in the Eastern

District of Michigan and elsewhere, JOHN R. LYNCH, defendant herein, did

knowingly plan and carry out a scheme to defraud Holy Cross and obtain and

deprive it of money and property by means of false and fraudulent pretenses and

representations.

      11. It was a part of the scheme that JOHN LYNCH would use his

unchallenged authority as the CFO of Holy Cross and then as its CEO to cause the

unauthorized transfer of Holy Cross funds to entities he controlled and/or in which

he had a significant personal and financial interest, namely, JKL Consulting LLC,

dba JKL Products, and First Nation Security LLC. These payments were made

from the checking account of Holy Cross Children’s Services at First Federal Bank

of the Midwest and from the checking account of Holy Cross Properties at Ann

Arbor State Bank. LYNCH directed the Holy Cross accounting department to issue

checks drawn on the checking account of Holy Cross Children’s Services and

make them payable to those entities, and he manufactured false invoices and

provided them to the Holy Cross accounting department to justify those payments.

And LYNCH himself wrote checks payable to those entities that were drawn on the

checking account of Holy Cross Properties.



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      12. It was also a part of the scheme that JOHN LYNCH would use his

unchallenged authority as the CFO of Holy Cross and then as its CEO to cause the

unauthorized transfer of Holy Cross funds through the Holy Cross Properties

checking account at Ann Arbor State Bank to make direct payments for his

personal expenses. LYNCH himself maintained physical control of the checkbook

for the Holy Cross Properties checking account, withheld information about the

activity in that account from the Holy Cross accounting department, and kept that

account segregated from Holy Cross’s accounting systems. LYNCH wrote checks

drawn on that account to pay personal expenses, which he made payable to

American Express (for a personal credit card account); the servicer of his personal

mortgage loan; First Nation Security, LLC; a company that installed a new roof on

his house; an acquaintance who did repair work on his cars; and the Grosse Pointe

South Gridiron Club.

      13. It was also part of the scheme that JOHN LYNCH would use his

unchallenged authority as the CFO of Holy Cross and then as its CEO to use his

corporate Holy Cross American Express credit card to purchase goods and services

that were not related to the business of Holy Cross but were rather for his personal

benefit. These unauthorized charges included but were not limited to payments for

lodging at resorts, dining at restaurants, travel (Delta Airlines), clothing purchased

at apparel and department stores, groceries, and federal income taxes. LYNCH

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failed to disclose to the Holy Cross accounting department that the charges were

personal, as he was required to. And he thereby led Holy Cross administrators to

believe, contrary to fact, that these charges were related to the business of Holy

Cross and legitimate. All charges on the corporate Holy Cross American Express

account were paid by Holy Cross.

      14. It was also a part of the scheme that JOHN LYNCH would use his

unchallenged authority as the CFO of Holy Cross and then as its CEO to cause the

unauthorized transfer of Holy Cross funds to his brother-in-law. These payments

were made from the checking account of Holy Cross Children’s Services at First

Federal Bank of the Midwest. LYNCH failed to disclose to and concealed from Holy

Cross administrators that these checks were not payments for goods or services

provided to Holy Cross but were rather unauthorized payments to his brother-in-

law that would be used, in part, to pay kickbacks to LYNCH.

                                     COUNT 1
                         (18 U.S.C. § 1343 – Wire Fraud)

D-1   JOHN R. LYNCH

      15. The allegations set forth above in Paragraphs 1-14 are hereby realleged

and incorporated by reference.

      16. On numerous occasions during the course of his scheme and in

furtherance of his scheme, which continued through March 2017, JOHN R. LYNCH,


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defendant herein, did knowingly cause electronic communications to be

transmitted in interstate commerce, which were transmitted to or from the Eastern

District of Michigan and associated with the check clearing process for checks

drawn on the checking account of Holy Cross Children’s Services at First Federal

Bank of the Midwest; with the check clearing process for checks drawn on the

checking account of Holy Cross Properties at Ann Arbor State Bank; and with

electronic payments made by Holy Cross to American Express.

      All in violation of Section 1343 of Title 18 of the United States Code.

                          FORFEITURE ALLEGATIONS
                 (18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461)

      17. The allegations set forth above in Paragraphs 1-16 are hereby

realleged and incorporated by reference for the purpose of alleging forfeiture

pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461.

      18. As a result of the forgoing violation of 18 U.S.C. § 1343, as set forth in

Count One of this Information, defendant shall forfeit to the United States of

America any property, real or personal, which constitutes or is derived from

proceeds traceable to said violation.

      19. Substitute Assets: Pursuant to 21 U.S.C. § 853(p), as incorporated by 28

U.S.C. § 2461(c), the United States of America shall be entitled to forfeiture of




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substitute property up to the value of the above forfeitable property if, by any act

or omission of the defendant, the above forfeitable property or any portion thereof

             A.     cannot be located upon the exercise of due diligence;

             B.     has been transferred or sold to, or deposited with, a third party;

             C.     has been placed beyond the jurisdiction of the court;

             D.     has been substantially diminished in value; or

             E.     has been commingled with other property which cannot be
                    divided without difficulty.


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